   Case 1:17-cv-00109-LAG Document 182 Filed 01/11/24 Page 1 of 2
USCA11 Case: 22-11826 Document: 61-2 Date Filed: 01/11/2024 Page: 1 of 2




                                     In the
                United States Court of Appeals
                         For the Eleventh Circuit
                           ____________________

                                  No. 22-11826
                           ____________________

       MATTHEW WHITEST,
       CURTIS LUCAS, JR.,
                                                         Plaintiﬀs-Appellees,
       CRANDALL POSTELL,
                                                         Plaintiﬀ-Appellant,
       versus
       CRISP COUNTY SCHOOL DISTRICT,
       BECKY PERKINS,
       in her oﬃcial capacity as Elections' Supervisor
       of the Crisp County Board of Elections and
       Registration,
       JUSTIN POSEY,
       in his oﬃcial capacity as a member of the
       Crisp County Board of Education,
       DR ELIZABETH MADDOX,
       in her oﬃcial capacity as a member of the
   Case 1:17-cv-00109-LAG Document 182 Filed 01/11/24 Page 2 of 2
USCA11 Case: 22-11826 Document: 61-2 Date Filed: 01/11/2024 Page: 2 of 2




       2                                                         22-11826

       Crisp County Board of Education,
       LELEE PHINNEY,
       in her oﬃcial capacity as a member of the
       Board of Education of Crisp County, et al.,


                                                     Defendants-Appellees.


                           ____________________

                 Appeal from the United States District Court
                     for the Middle District of Georgia
                    D.C. Docket No. 1:17-cv-00109-LAG
                          ____________________

                                 JUDGMENT
       It is hereby ordered, adjudged, and decreed that the opinion is-
       sued on this date in this appeal is entered as the judgment of this
       Court.
                          Entered: December 13, 2023
                 For the Court: DAVID J. SMITH, Clerk of Court


        ISSUED AS MANDATE: January 11, 2024
